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                                                                           December 3, 2021

           VIA ECF
           Katharine H. Parker
           U.S. Magistrate Judge
           U.S. District Court
           500 Pearl Street, Room 750
           New York, NY 10007
                                                                                                                                            12/03/2021
                                    Re:         Trustees of the Sheet Metal Workers' Local Union No. 28
                                                Funds and Plans, et al. v. Bo Guards Mechanicals LLC
                                                Case: 21-CV-01868-PAE-KHP

           Dear Judge Parker:

                   This firm is counsel to Plaintiffs, Trustees of the Sheet Metal Workers' Local Union No. 28
           Funds and Plans, et al. ("Plaintiffs"), in the above-captioned matter. Please accept this letter as
           Plaintiffs' request to postpone the deadline to file the Memorandum of Law in Support of the
           Inquest currently due on Monday, December 6, 2021.

                  Due to unexpected technical issues with our office's computer systems, we have been
           unable to prepare the documentation necessary for the Memorandum. We believe that extending
           the deadline to Monday, December 13th will enable Plaintiffs to complete the filing.

                   This is the first request to postpone the deadline. Defendant, Bo Guards Mechanicals LLC,
           has not consented to the adjournment request; Defendant is in default and did not object to
           Plaintiffs' application for damages by October 4, 2021 in accordance with Your Honor's Order
           dated July 19, 2021.

                  Plaintiffs thank Your Honor in advance for Your consideration of these requests.

                                                                       Respectfully,

                                                                       COLLERAN, O'HARA & MILLS L.L.P.

                                                                       By:        Isl 'lnomas <P. 'Keane
                                                           THOMAS P. KEANE
           cc:  Bo Guards Mechanicals LLC via First Class Mail
                1481 Washington Avenue, Suite 13D
                Bronx, NY 10456
           COM# 2805-0154



100   CROSSWAYS PARK   DRIVE WEST       SUITE
                                        1       200 • WOODBURY,               NEW YORK         11797 • T: 516.248.5757 • F: 516. 742.1765
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